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                              IN THE UNITED STATES DISTRICT COURT

                                         FOR THE DISTRICT OF HAWAII

   KIPENI LUTU, JR., GABRIELLE S.                       CIVIL NO. CV16-00085 LEK-KSC
   VALDES, individually and as parents
   and next friends of their minor child,               STIPULATION FOR DISMISSAL
   JOHN DOE,                                            WITH PREJUDICE OF ALL
                                                        CLAIMS AND ALL PARTIES AND
                                   Plaintiffs,          ORDER

              vs.

   STATE OF HAWAII BOARD OF
   EDUCATION DEPARTMENT OF
   EDUCATION, JOHN DOES 1-20,
   JANE DOES 1-20, DOE
   PARTNERSHIPS 1-20,
   CORPORATIONS OR OTHER
   ENTITIES 1-20,

                                   Defendants.



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                        STIPULATION FOR DISMISSAL WITH PREJUDICE
                        OF ALL CLAIMS AND ALL PARTIES AND ORDER

            IT IS HEREBY STIPULATED AND AGREED by and between the parties

  to this action through their respective counsel pursuant to Rule 41(a)(1)(A)(ii) of

  the Federal Rules of Civil Procedure, that the First Amended Complaint of

  Plaintiffs KIPENI LUTU, JR. and GABRIELLE S. VALDES, individually and as

  parents and next friend of their minor child, JOHN DOE, filed against Defendants

  HAWAII STATE BOARD OF EDUCATION and HAWAII STATE

  DEPARTMENT OF EDUCATION, in the above-entitled action, is hereby

  DISMISSED WITH PREJUDICE, with each party to bear their own costs and

  attorneys' fees.

            There are no remaining parties and/or claims. This stipulation is signed on

  behalf of all parties who have appeared in this action.

            DATED: Honolulu, Hawaii, March 8, 2017.



                                                 /s/ Peter C. Hsieh
                                                 PETER C. HSIEH, ESQ

                                                 Attorney for Plaintiffs
                                                 KIPENI LUTU, JR. and GABRIELLE S.
                                                 VALDES, individually and as parents and next
                                                 friend of their minor child, JOHN DOE




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                                                         /s/ Gary S. Suganuma
                                                         GARY S. SUGANUMA
                                                         Deputy Attorney General

                                                         Attorney for Defendants
                                                         HAWAII STATE BOARD OF EDUCATION
                                                         and HAWAII STATE DEPARTMENT OF
                                                         EDUCATION




  APPROVED AND SO ORDERED:



                                                 /s/ Leslie E. Kobayashi
                                                 Leslie E. Kobayashi
                                                 United States District Judge




  Kipeni Lutu, Jr., et al. v. Hawaii State Board of Education, et al.; CIVIL NO. 16-00085 LEK-
  KSC; Stipulation for Dismissal With Prejudice of All Claims and All Parties and Order




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